                      Case 14-14865
Debtor name: GORAN ILIJEVSKI                    Doc 142-2 Bk
                                                           Filed  10/03/17
                                                             Filing           Entered 10/03/17First
                                                                    Date: 4/21/2014            14:22:57    Desc
                                                                                                    PP PmtDueDate/Amt: 5/1/2014 / $4306.75
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                    Classified                                             Classified
         Post       Payment                  Transaction                     Total        Debtor
       Petition      Amount       Date Funds   Amount Date Funds            Amount       Suspense
       Due Date        Due         Received   Received   Applied            Applied       Balance
                                                                                           $0.00
        5/1/2014     $4,306.75     12/17/2014    $32,982.00   12/17/2014    $5,140.33    $2,834.75
        6/1/2014     $4,306.75                                12/17/2014    $4,167.82    $2,834.75
        7/1/2014     $4,306.75                                12/17/2014    $4,167.82    $2,834.75
        8/1/2014     $4,306.75                                12/17/2014    $4,167.82    $2,834.75
        9/1/2014     $4,306.75                                12/17/2014    $4,167.82    $2,834.75
        10/1/2014    $4,306.75                                12/17/2014    $4,167.82    $2,834.75
        11/1/2014    $4,306.75                                12/17/2014    $4,167.82    $2,834.75
        12/1/2014    $4,306.75     1/20/2015      $4,122.75   1/20/2015     $4,306.75    $2,650.75
        1/1/2015     $4,306.75     2/20/2015      $4,122.75   2/20/2015     $4,306.75    $2,466.75
                                    3/4/2015      $8,613.50                              $11,080.25
        2/1/2015     $4,515.76                                 3/9/2015     $4,908.78    $2,048.73
        3/1/2015     $4,515.76                                 3/9/2015     $4,122.74    $2,048.73
                                   5/13/2015      $4,515.76                              $6,564.49
                                   6/12/2015      $4,515.76                              $11,080.25
        4/1/2015     $4,515.76                                6/29/2015     $4,908.78    $2,048.73
        5/1/2015     $4,515.76                                6/29/2015     $4,122.74    $2,048.73
        6/1/2015     $4,515.76                                 7/1/2015     $4,515.76    ($2,467.03)
                                   7/15/2015      $4,515.76                              $2,048.73
        7/1/2015     $4,515.76                                7/17/2015     $4,515.76    ($2,467.03)
        7/1/2015    ($4,515.76)                               7/24/2015    ($4,515.76)   $2,048.73
        6/1/2015    ($4,515.76)                               7/24/2015    ($4,515.76)   $6,564.49
        5/1/2015    ($4,515.76)                               7/24/2015    ($4,122.74)   $10,687.23
        4/1/2015    ($4,515.76)                               7/24/2015    ($4,908.78)   $15,596.01
        4/1/2015     $4,515.76                                7/27/2015     $5,301.80    $2,048.73
        5/1/2015     $4,515.76                                7/27/2015     $4,122.74    $2,048.73
        6/1/2015     $4,515.76                                7/27/2015     $4,122.74    $2,048.73
        6/1/2015    ($4,515.76)                                8/4/2015    ($4,122.74)   $6,171.47
        5/1/2015    ($4,515.76)                                8/4/2015    ($4,122.74)   $10,294.21
        4/1/2015    ($4,515.76)                                8/4/2015    ($5,301.80)   $15,596.01
        4/1/2015     $4,515.76                                 8/6/2015     $5,301.80    $2,048.73
        5/1/2015     $4,515.76                                 8/6/2015     $4,122.74    $2,048.73
        6/1/2015     $4,515.76                                 8/6/2015     $4,122.74    $2,048.73
                                   8/17/2015      $4,515.76                              $6,564.49
        7/1/2015     $4,515.76                                8/18/2015     $4,515.76    $2,048.73
                                   9/15/2015      $4,550.00                              $6,598.73


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                                                                                                    PP PmtDueDate/Amt: 5/1/2014 / $4306.75
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                    Classified                                              Classified
         Post       Payment                  Transaction                      Total        Debtor
       Petition      Amount       Date Funds   Amount Date Funds             Amount       Suspense
       Due Date        Due         Received   Received   Applied             Applied       Balance
        8/1/2015     $4,515.76                                 9/16/2015     $4,515.76    $2,082.97
                                   10/2/2015      $4,520.00                               $6,602.97
        9/1/2015     $4,515.76                                 10/5/2015     $4,515.76    $2,087.21
                                   11/30/2015     $4,515.76                               $6,602.97
        10/1/2015    $4,515.76                                 12/1/2015     $4,515.76    $2,087.21
                                   12/15/2015     $4,300.00                               $6,387.21
        11/1/2015    $4,515.76                                 12/16/2015    $4,515.76    $1,871.45
                                   2/15/2016      $8,613.50                               $10,484.95
        12/1/2015    $4,266.95                                 2/17/2016     $4,227.15    $1,951.05
        1/1/2016     $4,266.95                                 2/17/2016     $4,306.75    $1,951.05
                                   4/26/2016      $5,000.00                               $6,951.05
        2/1/2016     $4,266.95                                 4/28/2016     $4,266.95    $2,684.10
                                   4/28/2016      $5,000.00                               $7,684.10
        3/1/2016     $4,578.62                                 4/29/2016     $4,578.62    $3,105.48
        4/1/2016     $4,578.62                                 8/12/2016     $6,541.40    ($3,435.92)
                                   10/13/2016     $4,578.62                               $1,142.70
                                                                                          $1,142.70
        5/1/2016     $4,578.62                                 10/14/2016    $4,578.62    ($3,435.92)
                                   11/1/2016      $5,300.00                               $1,864.08
                                                                                          $1,864.08
        6/1/2016     $4,578.62                                 11/2/2016     $4,578.62    ($2,714.54)
                                   12/1/2016      $5,300.00                               $2,585.46
                                                                                          $2,585.46
        7/1/2016     $4,578.62                                 12/2/2016     $4,578.62    ($1,993.16)
                                   12/30/2016     $5,300.00                               $3,306.84
                                                                                          $3,306.84
        8/1/2016     $4,578.62                                  1/3/2017     $4,578.62    ($1,271.78)
        8/1/2016    ($4,578.62)                                 1/9/2017    ($4,578.62)   $3,306.84
                                    1/9/2017     ($5,300.00)                              ($1,993.16)
                                                               3/27/2017    ($4,178.71)   $2,185.55
                                                                                          $2,185.55
        8/1/2016     $4,578.62                                 3/30/2017     $4,578.62    ($2,393.07)
        8/1/2016    ($4,578.62)                                 7/3/2017    ($4,578.62)   $2,185.55
                                                                7/5/2017     $4,178.71    ($1,993.16)
                                                                                          ($1,993.16)
        7/1/2016    ($4,578.62)                                 9/1/2017    ($4,578.62)   $2,585.46


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                                                  PAYMENT HISTORY Page 3 of 3

                     Classified                                        Classified
           Post      Payment                  Transaction                Total        Debtor
         Petition     Amount       Date Funds   Amount Date Funds       Amount       Suspense
         Due Date       Due         Received   Received   Applied       Applied       Balance
          6/1/2016   ($4,578.62)                            9/1/2017   ($4,578.62)   $7,164.08
          5/1/2016   ($4,578.62)                            9/1/2017   ($4,578.62)   $11,742.70
          4/1/2016   ($4,578.62)                            9/1/2017   ($6,541.40)   $18,284.10
                                                                                     $18,284.10
          4/1/2016    $4,578.62                             9/5/2017    $4,850.49    $13,433.61
          5/1/2016    $4,578.62                             9/5/2017    $4,306.75    $9,126.86
                                                                                     $9,126.86
                                                                                     $9,126.86
          6/1/2016    $4,578.62                             9/7/2017    $4,578.62    $4,548.24
          7/1/2016    $4,578.62
          8/1/2016    $4,578.62
          9/1/2016    $4,578.62
         10/1/2016    $4,578.62
         11/1/2016    $5,265.72
         12/1/2016    $5,265.72
          1/1/2017    $5,265.72
          2/1/2017    $5,265.72
          3/1/2017    $5,265.72
          4/1/2017    $5,265.72
          5/1/2017    $5,265.72
          6/1/2017    $4,574.87
          7/1/2017    $4,574.87
          8/1/2017    $4,574.87
          9/1/2017    $4,574.87
Totals               $188,507.68              $119,581.92              $115,033.68




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